                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


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 CHAMBER OF COMMERCE OF THE                      )
 UNITED STATES OF AMERICA, et al.,               )
                                                 )
        Plaintiffs,                              )      Civil Action No. 21-cv-00410-LKG
                                                 )
 v.                                              )      Dated: October 24, 2022
                                                 )
 PETER FRANCHOT, et al.,                         )
                                                 )
        Defendants.                              )
                                                 )

                                                ORDER
       The Court is scheduled to hold oral arguments on the parties’ dispositive motions
regarding whether the pass-through prohibition contained in the State of Maryland’s Digital
Advertising Tax Act (the “DATA”), 2021 Md. Laws ch. 37, codified at Title 7.5 of the Tax-
General Article, violates the First Amendment on November 29, 2022. See ECF No. 87. On
October 17, 2022, the Circuit Court for Anne Arundel County issued a decision in Comcast of
California/Maryland/Pennsylvania/Virginia/West Virginia LLC, et al. v. Comptroller of the
Treasury of Maryland, No. C-02-CV-21-000509, holding, among other things, that the DATA
violates the First Amendment, because the statute is not content neutral and selectively taxes the
plaintiffs in that case. See ECF No. 88 at 3.

       On October 21, 2022, the plaintiffs in this action submitted letter correspondence
requesting that this Court proceed with the scheduled oral arguments. See generally id. In their
correspondence, plaintiffs maintain this this case is not moot, because: (1) the Circuit Court did
not rule specifically on the constitutionality of the DATA’s pass-through prohibition; (2) the
State of Maryland has indicated its intent to appeal the Circuit Court’s decision; and (3) plaintiffs
remain uncertain about whether they may identify the estimated taxes paid under the DATA on
an invoice or other customer statement. Id. at 1. And so, plaintiffs requests that the Court
proceed with the scheduled oral arguments. See id.
       In light of the foregoing, defendants shall FILE a status report on or before October 31,
2022, stating their views regarding whether the Court should proceed with the oral arguments
scheduled to be held in this matter.



       IT IS SO ORDERED.



                                                s/ Lydia Kay Griggsby
                                                LYDIA KAY GRIGGSBY
                                                United States District Judge




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